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                       Exhibit 3
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig “Deepwater            *        MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April           *
   20, 2010                                           *        SECTION J
                                                      *
                                                      *
                                                      *        HONORABLE CARL J.
                                                      *        BARBIER
                                                      *
This document relates to Civ. A. No. 12-970.          *        MAGISTRATE JUDGE
                                                      *        SHUSHAN
                                                      *


                                DECLARATION OF HAL SIDER

I, Hal Sider, hereby declare and state as follows:

        1.      I am over the age of 21 years and a resident of the State of Illinois. Unless

otherwise stated, I have personal knowledge of the facts set forth herein and, if called to do so,

could testify truthfully thereto.

        2.      In accordance with the Court’s October 25, 2013 Scheduling Order regarding the

BEL Remand (Rec. Doc. 11735), I submit this Declaration to supplement the factual record

regarding the intended meaning of Exhibit 4C as it applies to the calculation of a claimant’s lost

variable profits.

        3.      I am an Executive Vice-President of Compass Lexecon, an economic consulting

firm with its headquarters in Chicago, IL. Beginning in August 2010, I have been retained by BP

and my responsibilities include monitoring the implementation of the Settlement Agreement. I

previously submitted declarations in this matter signed on February 18, 2013, March 14, 2013,

April 21, 2013, July 15, 2013, July 31, 2013, August 5, 2013, September 23, 2013, October 9,




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2013, and October 18, 2013. My February 18, 2013 declaration summarizes my qualifications

and includes my curriculum vitae.

        4.     I was a participant, on behalf of BP, at many meetings attended by representatives

of the Plaintiffs’ Steering Committee (“PSC”)1 during the course of the negotiations that resulted

in the Settlement Agreement executed by the parties on April 18, 2012 (“Settlement

Agreement”).

        5.     The purpose of the settlement negotiations between BP and the PSC, in part, was

to create a Business Economic Loss (BEL) framework to compensate business claimants that

suffered damages “as a result of” the Deepwater Horizon oil spill. During my participation in

these discussions, the representatives of the PSC and BP both stated that compensation for BEL

claimants was to be based on claimants’ lost profits due to the spill.

        6.     From September 2011 through December 2011, I attended approximately eight to

ten meetings of what became known as the Accounting Working Group. The Accounting

Working Group generally included counsel and experts from BP, including Evan McKay

(Compass Lexecon), George Hickey (Compass Lexecon), Jim Olin (C2G Advisors, LLC), Craig

Elson (CRA International), Renee McMahon (CRA International), Brian Gaspardo (O’Neill &

Gaspardo), Charles Douglas (Kirkland & Ellis LLP), and Andrew Karron (Arnold & Porter

LLP); as well as counsel and experts from the PSC, including John Tomlinson and Rhon Jones

(Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.), Michael Scott (Carr Riggs & Ingram,

LLC), and Robert M. Wallace (consulting accountant).




1
    Throughout this declaration “PSC” is used to refer to attorneys who are members of the PSC,
    as well as accountants and other experts working on behalf of the PSC.

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       7.      As a result of my involvement in the Accounting Working Group, I observed and

participated in discussions concerning certain elements of the compensation framework that

became Exhibit 4C to the Settlement Agreement.

       8.      The parties’ focus on lost profits as the basis for compensating BEL claimants is

not unusual, as it is a standard way to measure economic damages suffered by businesses.

Statements by the PSC throughout the negotiations led me to believe that PSC understood that

the goal of the BEL framework was in fact to compensate claimants for their lost profits. Both

parties used the standard terms of economic lost profits analysis, including revenue, profits, and

expenses.

       9.      At no time did any representative of the PSC indicate an intent to deviate from the

standard approach to calculating lost profits. Specifically, the parties stated that they sought to

evaluate lost profits based on the claimants’ lost revenue and the expenses that would have been

incurred to generate that lost revenue. In other words, revenue was to be linked to the costs

incurred in the generation of that revenue, as is standard in calculating lost profits. No party

suggested calculating compensation based solely on claimants’ cash receipts and expenditures

and I would not have understood such a methodology to be a valid measure of lost profits. I

have been performing economic analyses of lost profits throughout my career at Compass

Lexecon (28 years) and have been involved with many lawsuits that included an evaluation of

lost profits. I have worked extensively for both plaintiffs and defendants in calculating economic

damages in class actions and non-class actions, and have analyzed economic damages across a

variety of industries (vitamins, industrial chemicals, telecommunications, construction, retail,

and others). Had there been any suggestion during the course of negotiations to deviate from this




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standard approach to calculating lost profits, I would have noted and objected at the time to that

exception.

       10.     In the meetings in which I participated, both parties sought to incorporate a

reliable measure of lost profits in the BEL framework. In various meetings in September

through November 2011, for example, the parties discussed whether lost profits should be

calculated using an adjusted measure of earnings before interest, tax, depreciation, and

amortization (EBITDA) or claimant’s revenue in a given period less the corresponding variable

expenses incurred to generate that revenue (Variable Profit). In the course of those discussions I

recall PSC attorney Joe Rice commenting that it was his view that EBITDA is not a reliable

measure of economic performance and is not standard or commonly applied in damages

analyses. I understood from those comments that the PSC recognized that the goal of the BEL

framework was to accurately measure lost profits.

       11.     In addition to the accurate measurement of lost profits, another goal of the BEL

framework that was discussed during the course of negotiations was that similarly situated

claimants should be evaluated in a similar manner and realize similar outcomes. I was present

when representatives of the PSC made this point. One example of this I recall arose in the

context of criticisms of the GCCF process, when either Joe Rice or Calvin Fayard described two

brothers with jet ski shops in the same geographic area who, according to the PSC, received

widely different compensation from the GCCF. The PSC expressed a desire to ensure that

similar claims would face similar treatment under the Settlement Agreement.

       12.     Both parties stated that adjustments to the claimants’ statements were a necessary

part of the claims process. During a meeting on or about September 14, 2011 at the Royal




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Sonesta Hotel, Mr. Wallace stated, on behalf of the PSC, that claimants’ accounting was often

not sophisticated and the claimants’ P&Ls may need to be adjusted to ensure reliability.

       13.     In a meeting I attended on or about September 28, 2011, the parties recognized

that the data submitted by claimants would need to be evaluated for reliability. The parties

recognized that accountants hired by the Claims Administrator would need to undertake that

review and make adjustments to ensure that claims were evaluated using reliable data. There

was no dispute between the parties that the work by the Claims Administrator went well beyond

data entry and that qualified accountants would be needed to make appropriate adjustments.

       14.     PSC’s recognition that adjustments to claimant’s P&Ls would be necessary is

reflected in their own accountant’s presentation. During the same September 28, 2011 meeting,

Mr. Wallace presented an example calculation based on a seafood processing company whose

P&L statement included an annual adjustment to its Cost of Goods Sold. Exhibit A (highlights

added). The proposed calculation included modifications to the claimant’s reported financial

data to accurately measure COGS on a monthly basis. Specifically, on page 6, Mr. Wallace’s

example translated the “Annual Burden Cost Adjustment” to “Monthly Burden Costs” (relevant

items highlighted in yellow). Mr. Wallace explained that the company’s monthly financial

statements were based on an estimated “standard cost,” but the actual costs it realized differed

from this estimate. Mr. Wallace’s presentation of this example highlighted the presence of his

adjustment to monthly costs, although his precise methodology for making these monthly

adjustments was not discussed. The claimants’ “Annual Burden Cost Adjustment” was made in

April (which is outside the May-December BEL compensation months) with Mr. Wallace’s

“Monthly Burden Costs” adjustment being made to P&Ls in the twelve prior months, including

those in the May-December BEL compensation months. This example indicated to me at the



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time that Mr. Wallace recognized that adjustments to claimants’ financial data would be

necessary to yield accurate measures of lost Variable Profits.

       15.     As part of the Accounting Working Group’s efforts in October and November

2011, I participated in an exercise using certain financial data selected by the PSC. In

conversations I had with Mr. Wallace and Mr. Scott, we discussed the limited scope of the

exercise. The purpose of the exercise was to evaluate issues related to classification of line item

expenses as fixed or variable costs, evaluation of fixed and variable payroll expenses, calculation

of the claimant-specific factor, and whether the BEL framework should be based on changes in

Variable Profit or Adjusted EBITDA. This exercise also compared the results of calculations

based on data from anonymous claimants using each side’s computer programs to verify that

both groups had a common understanding of certain calculations in Exhibit 4C.

       16.     On or about October 17, 2011, the PSC provided Excel spreadsheets to BP, which

contained information about certain anonymous claimants. Spreadsheets provided by the PSC

that contained the claimant-specific financial data noted that claimants’ reported COGS (cost of

goods sold) would need to be adjusted to reflect actual costs incurred and, therefore, economic

reality. Exhibit B (collecting excerpts of PSC spreadsheets) (“Some claimants (e.g. Seafood

Processors) may report monthly processing costs using standard cost accounting systems. In

these instances COGS must be adjusted to reflect the ACTUAL monthly costs.”).

       17.     Undertaking these adjustments or other accounting adjustments was not necessary

to perform the exercise. The goal of the exercise was not to determine the value of a claim using

the full methodology of Exhibit 4C. Nor did the Accounting Working Group attempt to replicate

the steps the Claims Administrator would need to undertake in evaluating a claim. BP did not

evaluate the reliability or accuracy of the data provided by the PSC and did not attempt to



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reconcile data from financial statements with tax returns (which were not provided). For actual

claims review, further adjustments and additional analysis would need to be made by the Claims

Administrator.

       18.       In addition, the PSC did not provide full claimant files and did not identify the

industry of a number of claimants, GCCF IDs, or other key information required by the

Settlement Agreement. Nor did BP have access to claimants to answer questions related to the

data or to provide additional source documentation. Without this information, it would have

been impossible to calculate or apply the Risk Transfer Premium (RTP), offset compensation by

previous payments by GCCF, or to determine when revenue was earned and the expenses

incurred to generate that revenue. Further, the exercise was limited to a 2009 Benchmark Year,

assumed an eight-month Compensation Period that stretched from May-December 2010, and was

of such a limited nature that PSC and BP did not perform the full “Step-2” calculation.

       19.       Approximately one month before the parties signed the Settlement Agreement, I

attended a meeting in New Orleans between Charles Hacker and others from

PricewaterhouseCoopers LLP and a group of BP representatives. Mr. Hacker said that in Step

One of Exhibit 4C, the calculation of Variable Profit could be calculated with less work and

more accuracy by using an element of Step Two of Exhibit 4C (Variable Margin percent) in

place of determining variable expenses as part of the Variable Profit calculation in Step One.

Specifically, Mr. Hacker suggested applying the Variable Margin percent calculated in Step Two

as the basis of calculating Lost Variable Profit in Step One, as opposed to an approach based on

deducting corresponding variable costs from revenue. I understood from these comments that

Mr. Hacker anticipated that there would be a significant amount of work involved in calculating

the corresponding variable expenses under the terms of the Settlement Agreement and was



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suggesting an alternative and more efficient method of calculation for Step One. I also took

from these comments that Mr. Hacker accurately recognized that under the Settlement

Agreement as drafted (and subsequently signed), significant effort would be required to reliably

calculate monthly Variable Profit, including the revenue and variable expense components of the

calculation. Mr. Hacker did not suggest in this meeting or in his subsequent April 4, 2012

memoranda that the Claims Administrator would take claimant reported financial information at

face value   —   without necessary adjustments to account for economic reality   —   in evaluating lost

Variable Profits.



       I make this Declaration under penalties of perjury pursuant to 28 U.S.C. § 1746, and I

state that the facts set forth herein are true to the best of my knowledge, belief, and information.




Dated: November 7, 2013
                                                               Hal Sider




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                       Exhibit A
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                                                                                                                              SAMPLE COMPANY
                                                                                                                            Computation of Losses
                                                                                                                       GCCF Claim#         9999999
                                                                               Attachment B- Lost Profits From Operations for July 2010- April 2011
                             (A)               (B)                 (C)              (B+C)=D           (E)             (D x E)= F                (G)              (G ·F)= H
                          2010/2011      • 2009/2010            **Growth            2010/2011                          Expected             • 2010/2011
                            Actual          Actual               Factor             Expected      • 2009/2010          Modified         Actual Modified            Lost

July
        Months            Revenue
                            1,493,225
                                             Revenue
                                              1,876,863
                                                                 15.39%
                                                                    288,849
                                                                               I     Revenue
                                                                                      2,165,712
                                                                                                  Monthll LOI
                                                                                                     4.05%
                                                                                                                      Gross Profit
                                                                                                                            87,711
                                                                                                                                         Gross Profit
                                                                                                                                                (150,761)
                                                                                                                                                                   Profit
                                                                                                                                                                     (238,472)
Augusl                      1,152,432         1,514,650             233,105           1,747,755      7.07%                 123,566               158,094               34,528
September                   1,013,420         1,371,829             211 '124          1,582,953     13.44%                 212,749                89,469             (123,280)
October                     1,424,647         1,405,499             216,306           1,621,805     8.58%                  139,151                21,777             (117,374)
November                    1,201,382         1,399,279             215,349           1,614,628     13.21%                 213,292               277,068               63,776
December                    1,230,762         1,713,102             263,646           1,976,748     20.47%                 404,640               106,628             (298,012)
January                     1,093,392         1,470,285             226,277           1,696,562     11.02%                 186,961               181,191               (5,770)
February                    1,336,773         1,690,721             260,202           1,950,923     12.72%                 248,157               162,955              (85,202)
March                       1,897,778         2,211,722             340,384           2,552,106     12.95%                 330,498               296,817              (33,681)
April                       2,036,851         2,083,852             320,705           2,404,557     21.61%                 519,696               367,884             (151,812)

    TOTALS           $ 13,880,662       $ 16,737,802        $     2,575,947        $ 19,313,749                   $       2,466,421     $      1,511,122     $       (955,299)

*Monthly Loss of Income Rate was calculated based Average Monthly Modified Gross Profit for the annual period July 1, 2009 through April 3D, 2010. Refer to Attachment C,
"Monthly Loss of Income Rate Calculation."


Lost Revenue Growth Factor Calculation
January 2010- April2010

                            2010              2009
    Months                Revenue            Revenue            Change
January               $     1,470,285    $    1,379,106
February                    1,690,721         1,452,442
March                       2,211,722         2,020,653
April                       2,083,852         1,610,043

Totals                $     7,456,580    $    6,462,244     $       994,336

** Calculated Growth Factor                                          15.39%

**During the Pre-Spill period, January through April2010, Claimant
demonstrated significant revenue growth. Accordingly, this growth factor
calculation has been prepared within the GCCF published methodology.




                                                                           See Accountant's Report
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                                                                    SAMPLE COMPANY
                                                                   Computation of Losses
                                                           GCCF Claim#           9999999
                                   Attachment C- Monthly Loss of Income Rate Calculation
                                  Jul                                        2009                   2010
    Gross Sales                                                         $     1,876,863      $       1,493,225
    * Cost of Goods Sold & Variable Exeenses                                  1,800,881              1,643,986
                         Modified Gross Profit                          $        75,982      $        (150,761)
                   Month!~ Loss of Income Rate {LOI)                              4.05%                ~10.10%


                               Au ust                                        2009                  2010
    Gross Sales                                                        $      1,514,650      $      1,152,432
    *Cost of Goods Sold & Variable Exeenses                                   1,407,529               994,338
                        Modified Gross Profit                          $        107,121      $        158,094
                  Monthly Loss of Income Rate {LOI)                               7.07%                13.72%

                              Se(?:tember                                    2009                  2010
    Gross Sales                                                        $      1,371,829      $      1,013,420
                                                                                                      923,951
                                                                                             $         89,469
                                                                                                        8.83%

                                October                                      2009                  2010
                                                                       $      1,405,499      $      1,424,647
                                                                                                    1,402,870
                                                                                             $         21,777
                                                                                                        1.53%

                               November                                      2009                  2010
    Gross Sales                                                        $      1,399,279      $      1,201 ,382
    *Cost of Goods Sold & Variable Exeenses                                   1,214,394               924,314
                        Modified Gross Profit                          $        184,885      $        277,068
                  Monthly Loss of Income Rate (LOI)                              13.21%                23.06%

                               December                                      2009                  2010
    Gross Sales                                                        $      1,713,102      $      1,230,762
    * Cost of Goods Sold & Variable Exeenses                                  1,362,490             1,124,134
                        Modified Gross Profit                          $        350,612      $        106,628
                  Monthly Loss of Income Rate {LOI)                              20.47'%                8.66%

                                Janua                                        2010                  2011
    Gross Sales                                                        $      1,470,285      $      1,093,392
    * Cost of Goods Sold & Variable Exeenses                                  1,308,317               912,201
                        Modified Gross Profit                          $        161,968      $        181,191
                  Monthly Loss of Income Rate (LOI)                              11.02%                 16.57%

                               Februa                                        2010                  2011
    Gross Sales                                                        $      1,690,721      $      1,336,773
    *Cost of Goods Sold & Variable Expenses                                   1,475,592             1 '173,818
                        Modified Gross Profit                          $        215,129      $         162,955
                 Month I~ Loss of Income Rate {LOI)                              12.72%                 12.19%

                                                                                                   2011
                                                                                             $      1,897,778
                                                                                                    1 ,600,961
                                                                                             $         296,817
                                                                                                        15.64%

                                  A ril                                      2010                  2011
    Gross Sales                                                        $      2,083,852      $      2,036,851
    * Cost of Goods Sold & Variable Expenses                                  1,633,470             1,668,967
                         Modified Gross Profit                         $        450,382      $        367,884
                  Mont hi~ Loss of Income Rate {LOQ                             21.61%                  18.06%

    *Cost of Goods Sold & Variable Expenses are calculated on Attachment C-1, "Cost of Goods Sold and Variable
    Expense Summary."



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                                                       SAMPLE COMPANY
                                                      Computation of Losses
                                                GCCF Claim #        9999999
            Attachment C-1 -Cost of Goods Sold & Variable Expense Summary
      2010/2011       'TOTAL COGS       'Fixed COGS         "Variable SG&A              NET COGS
       MONTHS            Per P&L          Expenses              Ex~enses             & VARIABLE EXP
July                       1,401 '130           240,477                 2,379                 1,643,986
August                     1,125,841           (134,003)                2,500                   994,338
September                    940,950             (19,499)               2,500                   923,951
October                    1,299,713            100,657                 2,500                 1,402,870
November                   1,043,238           (121 ,424)               2,500                   924,314
December                   1,060,346              61,288                2,500                 1,124,134
January                      992,172            (82,471)                2,500                   912,201
February                   1,212,385            (41 ,067)               2,500                 1,173,818
March                      1,678,536           (106,075)               28,500                 1,600,961
April                      2,037,707           (373,216)                4,476                 1,668,967

   TOTAL 2010/2011    $   12,792,018    $      (475,333)    $          52,855        $       12,369,540


      2009/2010       'TOTAL COGS       'Fixed COGS         "Variable SG&A              NET COGS
      MONTHS             Per P&L            Ex~enses            Ex~enses             & VARIABLE EXP
July                       1,783,380             15,751                 1,750                 1,800,881
August                     1,457,337            (51 ,558)               1,750                 1,407,529
September                  1,366,410           (180,742)                1,750                 1,187,418
October                    1,345,429            (62,271)                1,750                 1,284,908
November                   1,344,903           (132,259)                1,750                 1,214,394
December                   1,486,812           (126,072)                1,750                 1,362,490
January                    1,321,240            (14,673)                1,750                 1,308,317
February                   1,521,129            (47,287)                1,750                 1,475,592
March                      1,971,592            (49,117)                2,750                 1,925,225
April                      1,651,219            (27,880)               10,131                 1,633,470

   TOTAL 2009/201 0   $   15,249,451    $      (676,108)    $          26,881        $       14,600,224




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                                                                                                                             SAMPLE COMPANY
                                                                                                                           Computation of Losses
                                                                                                                       GCCFCiaim#        9999999
                                                                                                Attachment D - Fixed Cost of Goods Sold Summary
         2010/2011        • TOTAL COGS              Other                   Monthly                   Annual Burden            Fixed COGS               ADJUSTED
         MONTHS               Per P&L           Shieping Costs            Burden Costs                Cost Adjustment           Exeenses                  COGS
July                            1,401,130                   26,010                  287,384                                             (72,917)          1,641,607
August                          1,125,841                   19,399                  (80,788)                                            (72,614)            991,838
September                         940,950                   16,410                   37,770                                             (73,679)            921,451
October                         1,299,713                   26,946                  147,264                                             (73,553)          1,400,370
November                        1,043,238                   19,280                  (63,815)                                            (76,889)            921,814
December                        1,060,346                   24,096                   99,399                                             (62,207)          1,121,634
January                           992,172                   15,635                  (25,311)                                            (72,795)            909,701
February                        1,212,385                   21,257                    8,056                                             (70,380)          1,171,318
March                           1,678,536                   24,963                  (48,358)                                            (82,680)          1,572,461
April                           2,037,707                   32,125                  (99,651)                   (255,954)                (49,736)          1,664,491

   TOTAL 2010/2011        $    12,792,018   $           226,121      $              261,950       $            (255,954)   $           (707,450)       $ 12,316,685


          2009/2010       • TOTAL COGS              Other                   Monthly                   Annual Burden            Fixed COGS               ADJUSTED
          MONTHS              Per P&L           Shipeing Costs            Burden Costs                Cost Adjustment            Expenses                 COGS
July                            1,783,380                   37,184                    54,102                                            (75,535)          1,799,131
August                          1,457,337                   28,992                    (5,800)                                           (74,750)          1,405,779
September                       1,366,410                   27,391                  (126,030)                                           (82,103)          1,185,668
October                         1,345,429                   33,117                   (18,483)                                           (76,905)          1 ,283,158
November                        1,344,903                   28,847                   (88,424)                                           (72,682)          1,212,644
December                        1,486,812                   35,308                   (89,286)                                           (72,094)          1,360,740
January                         1,321,240                   31,684                    27,545                                            (73,902)          1,306,567
February                        1,521,129                   32,210                    (5,629)                                           (73,868)          1,473,842
March                           1,971,592                   39,324                    (6,542)                                           (81,899)          1,922,475
April                           1,651,219                   41,500                  (243,553)                   242,839                 (68,666)          1,623,339

   TOTAL 2009/2010        $    15,249,451   $            335,557      $             (502,100)     $             242,839    $           (752,404)       $ 14,573,343




                                                                     See Accountant's Report
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                                           SAMPLE COMPANY
                                          Computation of Losses
                                      GCCF Claim#       9999999
                  Attachment E- SG&A Variable Expense Summary
            2010/2011            Credit           Bad Debt             TOTAL
            MONTHS              Services          Expense             VARIABLE
      July                              500            1,879               2,379
      August                            500            2,000               2,500
      September                         500            2,000               2,500
      October                           500            2,000               2,500
      November                          500            2,000               2,500
      December                          500            2,000               2,500
      January                           500            2,000               2,500
      February                          500            2,000               2,500
      March                             500           28,000              28,500
      April                           2,476            2,000               4,476

         TOTAL 2010/2011    $         6,976   $       45,879      $         52,855



            2009/2010            Credit           Bad Debt             TOTAL
            MONTHS              Services          Expense             VARIABLE
      July                              750            1,000               1,750
      August                            750            1,000               1,750
      September                         750            1,000               1,750
      October                           750            1,000               1,750
      November                          750            1,000               1,750
      December                          750            1,000               1,750
      January                           750            1,000               1,750
      February                          750            1,000               1,750
      March                             750            2,000               2,750
      April                           8,131            2,000              10,131

         TOTAL 2009/2010   $        14,881    $       12,000      $        26,881




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          Sample Company
          Burden Cost Monthly Allocation Worksheet

                2010/2011
                                    Monthly Burden      Annual Burden Cost
                 MONTHS                 Costs              Adjustment
          May                       $         (3,021)   $
          June                               (2,974)
          July                              287,384
          August                            (80,788)
          September                          37,770
          October                           147,264
          November                          (63,815)
          December                           99,399
          Period 13
          January                            (25,311)
          February                             8,056
          March                              (48,358)
          April                              (99,651)                   (255,954)

             TOTAL 201 0/2011      $        255,955     $               (255,954)



                2009/2010
                                   Monthly Burden       Annual Burden Cost
                MONTHS                 Costs               Adjustment
         May                       $       207,376      $
         June                               51,885
         July                               54,102
         August                             (5,800)
         September                        (126,030)
         October                           (18,483)
         November                          (88,424)
         December                          (89,286)
         Period 13
         January                             27,545
         February                            (5,629)
         March                               (6,542)
         April                             (243,553)                    242,839

            TOTAL 2009/2010        $       (242,839)    $               242,839




                                                            Produced Pursuant to Rule 408 9/28/2011
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SAMPlE COMPANY                                                      I                                j                    i                           i                  f              I                    i                                       I                i                 i                     I
        i                                              ATTACHMENT       May-09            Jun-09             Jul-09           Aug-09      I Sep-09            Oct-09         Nov-09               Dec-09             Jan-10             Feb-10               Mar-101 Apr-10                      TOTALS
GROSS RECEIPTS                                                                                       I                                                                                                       i                                       I                i                 !.                    i
  !Sales                                                                1,722,905        2,180,426 i L870,171                 1.503,408     1,358,843 1,395,700 i 1,383,164 i 1,670,924 i 1,442,102 1,668,397 i 2,171,377 i z,to3,243l 20,470,660 I
                                                                                                                                                                                                                                1



~~ad Debt Recovery                                                               0                 0!                 0               0             0           0 I         0 1         0 I         Dl         Ol          0 I       0            O!
        ILate Charges On NR                                                  900              837 1            1,ssz      1         336           176         627         307 .       578         394 i      633 l       918 i     797        8,055 !
        ! Freight Revenue- Net Truck Revenue               FT             15,786           10,900 I            4,088             s,zzo         11,742 I     8,568 I    15,138      41,160      27,304     20,387 I    38,859 i (21577i      180,575 i
        I Haulin Revenue                                   FT              z,oos I            883              1,osz             2,685          1,068         604 l       670 !       440         485      1,304 I       sss !   1,389       13,154!
                                                                                     I               I                                                                        !                                  I                     I            I
       -!GROSS-RECEIPTS        --                                   i 1,741,596 I 2,193,046 I 1,876,863 I l,St4,6so                         1,371,829 I 1,405,499 I 1,399,279 i 1,713,102 I 1,470,285' 1,690,721 I 2,211,722 2,083 852 I 20,672,444 I 100.0%
    1                                                                                                                                                 I           I                     1                        I           I         i
COST OF SALES                                            COS..09    j                                                     I                          i                   I              I                    I                  i                    !                                                        :
r=::..:..
     Fixed Production COS                                                  74,902    86,712 I    75,535 I   74.750                 76,905 I   82,103 i
                                                                                                                                               72,682                                               72,094 i   73,902 I  73,868 I   81,899      68 666 i   914,018 i  4.4%
~Variable     Production COS                                              189,47S   286,882 i 186,570! 209,332        190,769 I 196,282 i 172,596                                                  228,180! 208,035     179,509 ! 221,11o! 233,264       2,502,oo4 1 12.1%
    IProduct Cost                                                       1,301,322 1,683,167 i 1,521,275 1,173,255' 1,093,538 1,072,242 i 1,099,625                                               1,186,538! 1,039,303 1,267,752! 1,668,583 i 1,349,2891 15,455,889 1 74.8%
        i                                                                                   !           I                                 !                                                                  i                                       I                i
·--·    I!OTALCOSTOFSALES           --~--~   ···-·-·                I 1,565,699 i 2,056,761: 1,783,380 i 1,457,337: 1,366,410 i 1,345,429 i 1,344,903                                            1,486,812! 1,321,240 I 1,521,129 ! 1,971,592! 1,651219 I 18,871,911                                                  91.3%
                                                                    i           !           i                                 !           i                                                               !                       I          !
FREIGHT EXPENSE                                                                                                                                       I                  I              I                    I                                       I
        !Other Shipping Vendors, net                       FT             28,140!          31,232 !           37,184 I          28,992 i       27,391:         33,117 I       28,847 i             35,308 I           31,684 I           32,210 I             39,324 I         41,500 i           394,929             1.9%
·-~- ...J..                                                                                       I                       i                           i                  I                                   I                  I                    I                I                                       !
        i GROSS PROFIT                                                   147,757 i        105,0S3 I           S6,299 !          28,321        {21,972):        26,953 i       2S,529!             190,9821           117,361            137,3821             200,806 I        391,133 i          1,405,604!           6.8%
                                                                                                                                                                                        I                     I                                 I                                        I
GENERAL AND ADMIN.                                                                                                                                        I                                                   I                                                                                               I
       !Advertising                                                          435               820             2,004 !            2,443         1,462 I          (857)!         1,944                3,026 I           2,212                   0!                200!               0              13,689!            0.1%
       iAuto Expense                                                       2,774             2,137             2,370 '            2,193 '       2,192           2,195 i         2,208               (2,205)            2.277 .             2,236               2,719 I          1,942              23,037 I           0.1%
       !Computer Exp                                                       2,106             1,341 I           2,477 1              877 .       1,611 1         1,161 i,        2,049                1,555             1,121 \             4,044 ',.           4,944 I,         3,150              26,436\            0.1%
        Credit Services                                                       1so I            760 I             760 I              76o           750             750 i           750                  750               750'                750                 1so i          s,131 I            16,411             0.1%
       I Dues/Subscriptions                                                 1.366 I          2,233 !           1,542 1            1,5S2       ...~~~?8_         1,319 i        - g•ij.               1,082
                                                                                                                                                                                                                         ''2.1             1,029 i             1.670 I          2,373 1            ~-~·0!'2   J.      0.1%
 ... ·--~Insurance Expense                                                  3,536 i          3;536   r·        3,5~·3,536                       3,536           3~536 i         3,536   1
                                                                                                                                                                                                     3,536-,··-·       3,535 !           - 3:s35T              3:536T~                             37,455             0.2%
         Group Health Insurance                                             6,186!           3,730 I           6,292              6,232         3,081           5,341 !         7,273 i             5,050             10,779 i             9,216 I               481            4,732 I            68,393             0.3%
r----Jtnterest Expense                                                      7,139 i          6,743 i           7,8so I            5,605         s,811 I        10,474 i         7,863 i             7,7331             9,756 i             8,611               8,9091           8,073,             94,567             0.5%
1------, Bad Debt Expense                                                   1,000 i          1,000             1,000 1            1,000         1,ooo I         1,000 i         1,000:              1,000              1,ooo I            1,ooo I              2,000'           2,000 i            14,000             0.1%
I      Ilegal and Audit                                                     2,000 i          2,387             2,000 !            2,000         2,000!          2,000 i         2,000 i             2,000'             2,840 i            2,010                2,000 l          2,675 i            25,912 i           0.1%
         Miscellaneous Expense                                                 34'             403                38 \              113            41 \             0 '·          131~                560 i            2,500 ',                  0                50\             458\              4,328 I           0.00/o
         Office Supplies and Expense                                        5,504            6,598             3,176!             4,362         5,240 i         6,135 i        5,441                s,ss8 I            3,636 l            4,279                5,827 !          2,172 i            57,928 i           0.3%
       i Payroll Taxes                                                      5,987            7,518             6,240:             6,064         7,521 I         6,244!         6,062 :              7,4S2 I            5,813 I            5,747 I              7,280            6,050'             77,978 I           0.4%
        ]Postage                                                              390            2,411               281 '              354           193 I           366 :          280 i                340 i                971              531 I                168 i            125 i             5,536 i           0.00/o
       !Employee Benefits                                                     207              427                    O!           929             so!            424 I        1,945 i             (5,931)!                0              1,123 i                262              424 i              (140)i           0.0%
       !Salaries                                                           75,413           91,127            78,378 I           77,058        92,188 !        77,244 i       75,497!              91,767 t           73,189             72,474!              89,225 i         78,225 '           971,785 i           4.7%
        'Travel & Entertainment                                             3,149            2,487             1,183 i            2,196           705           1,640 i        2,555 i              1,083 I            2,377 r            1,753 :              3,348              6691             23,14S i           0.1%
       !Telephone                                                           2,83s 1          3,150 !           3,098 i            3,625         2,988 .         3,771 i        3,565                2,975 I            3,002              3,006 I              3,001 !          2,9771             37,993!            0.2%
        'Taxes-Franchise                                                        oI                             4,5261                 0              ol             0                 Ol                   0 I,            0                  01                   0                0               4,526\            0.0%
                                                                                                   0 '·
        ;Taxes-Real Estate                                                  1,5oo I          1,500 i           1,500              1,500         tsoo I          1,500 I         1,500 i              1,500              1,soo       1     1,500!               1,500 i          1.soo I            18,000 i           0.1%
        iTaxes-Business license                                                  Ol                Oi            136                825           201 i             0                 or                65                238 I             145 1                  01               0               1,610!            0.00.4,
        :Taxes-Consumer Use Tax                                                73               64 i              72                104            88             117              56 i                 58                 83!                971                 54               55                 921 .           0.00.4,
            i                                                                                                        I                                                                      I
 TOTAL GEN. AND ADMIN EXP                                                122,3841          140,372 i         128,458 I         123,328        134,136 !       124,360        126,638!             128,953 I          127,620 i          123,0861             137,924 I        124,293 i          1,541,S52 i          7.5%
                                                                                                      I                   I                                              !                  I                 I                                                       I
 NET OPER. INCOME (LOSS)                                                   25,3731         (35,31911          (72,159)!         (95,007)     (156,108)'        (97,407)i     {101,109)1             62,029 i          (10,259)'          14,296 I             62,8821         266,840 i           (135,948)~          -0.7%
                                                                                     I                                    I                                                                                                         I           !
 OTHER INCOME & EXPENSE                                                              I                                                                    I
     !Lease Income                                                          2,700 i          2,700 I            2,700!            2,700         6,700!           2,700:         2,700                2,700              2,700 i             2,700 i            2,700!           2,700               36,400            0.2%
     I Miscellaneous Income                                                    621             (70)1             \23S)i             {46)             o'            151 !       26,S52                 (799)!             (32SJ!            (2,311)i               32 i         (1,677)'             21,331 I          0.1%
     I Interest Income                                                        270!             176 !              169 i              94            78 i            (41)1        1,199 I              1,160 i              619 I             1,176 i            1,158 !          1,142 I              7,200            0.00/o
     !Gain On Sale of Assets                                                    O!               01                 0                 0              Oi              0                Ol             7,000 i                  o!         (20,0DO)i                  o:               O!            (13,000)           -0.1%
            I                                                                                                         i                                                I                                      I                                                       I                      !
 TOTAL OTHER INCOME AND EXPENSE                                             3,032 !          2,806              2,631 i           2,748         6,778 i          2,810 !       30,451!              10,061 I            2,994 I          (18,435)i             3,890 !          2,165 i             51,931            0.3%
                                                                                     I                i                                                                                     'I                   I                                       !                I
 Sample Company- Sub #1                                                   (33.29811        (90,708)!           56,913 1         02,399}:       (3,320)        104,707         (27,4SO}i             27,566            (19,481)           (10,894)1            (19.008)1           (401li           (32,803)           -0.2%
 Sample Company- Sub #2                                                     (2,S11)i          (685)!            2,169            (6,690)!        (679)         (1,261)          (4,443)1            (4,976il           (4,840)1           (5,216)1             {4,027)1         (1.43l)i           (34,590)           -0.2%
                                                                                                                                                                                            :                    I                  I                    I                I                  r
 NET INC. (LOSS) Subs #1 & 2                                              (35,809)1        (91,393li          59,082            {19,089)       {8,999)1       103,446         {31,923)1             22,590 !          (24,321)!          (16,110)1            (23,035)[         (1,832)i           {67,393)1          -0.3%
            I                                                                                            I                                                                                                 I                   I
            'NET INC. (lOSS) SEF. TAXES                                    (7,404)'       (123,906)!          (10,446)         (111,348)     (158,329)           8,849       (102,581)1             94,680 !          (31,586)1          (20,249)!            43,737 !        267,173 I           [151,410):
                                                                                                      I                                                                                                       I                     i                                                        I                    i

                                                                                                                                                                                                                                                             Produced Pursuant to Rule 408 9/28/2011
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SAMPLE COMPANY
                                                 ATTACHMENT           Mav-10             Jun-10           Jul-10            Aug-10            Sep-10           Oct-10           Nov-10            Dec-10             Jan-11             Feb-11           Mar-11              Apr-11            TOTALS
GROSS RECEIPTS                                                I
     Sales                                                            2,655,701! 2,058.391! 1,507,206                       1,175,7331 1,016,727               1,405,957!       1,198,928 j       1,238,747          1,110,392!         1,323,052'       1,902,049       2,017,380 i 18,610,263 i
      ~~d l?_~bt Recovery
      Late Charges On A/R                                                  88~t              --· 0 i
                                                                                              690 i
                                                                                                                o'
                                                                                                              7191
                                                                                                                                  -·Q.L
                                                                                                                                 563 !
                                                                                                                                                  _ oI
                                                                                                                                                   195T
                                                                                                                                                                        0 i
                                                                                                                                                                     3si-(
                                                                                                                                                                                         0 i
                                                                                                                                                                                     345 i--            379                400'             358 l
                                                                                                                                                                                                                                                 _j
                                                                                                                                                                                                                                                               384               ,,,· '.- I' --- 5,739 '
                                                                                                                                                                                                                                                                                              0 i
                                                                                                                                                                                                                                                                                                          !

      Frei ht Revenue· Net Truck Revenue             FT                 (14,923)!          {8,812]i       {15,340)            (25,052)!        (10,539)1         15,4671            5,221            (8,364)]          (17, 726)!         12,883!           (5,015)'          17,817!            (54,383)!
      Hauling Revenue                                FT                    682              1,251 '           640               1,188!           7,036 i          2,867            (3,112li                0 i             3261             480!               360'            1,190 i            12,908 i
                                                                                                      I                                           !           I                                              i                     I                                                      !
      GROSS RECEIPTS                                          ! 2,642,345               2,051,520 I 1,493,225 I             1,1S2,432 i 1,013,419 i 1,424,648 i 1,201,382                         1,230,762!         1,093,392 I 1,336,773 I 1,897,778                   2,036,851 ! 18,574,527 ! 100.0"..6
                                                              I                   I                                     I                         I                                                                                                                                       I
COST OF SALES                                      C05-10                                                                                                                   !
F ~i~ed   Production COS                                                 75,234            83,182 i
                                                                                                      I           '
                                                                                                           72.917 I            72,614          73,679            73,553:          76,889]           62,207             72,795]            70,380            82,680          49,736               865,866'         4.7%
~~ariab!e Production COS                                      I         179,060           170,667 I 159,685                   124,960         131,692!          247,310!          64,884           147,667            145,9461           149,494           185,208         201,7S2             1,908,325          10.3%
    !Product Cost                                             1       2,144,893         1,589,946 1,168,528                   928,267         735,579 1         978,850 i        901,465           850,472            773,431            992,511!        1,410,648       1,786,219            14,260,809          76.8%
                                                                                                                                        I                                   I                                  I                   I                !
      TOTAL COST OF SALES                                             z,399,187 ! 1,843,79S ! 1,401,no I                    1,125,8411        940,950 i        1,299,713 I                        1,060,346!          992,112 I 1,212,385 1 1,678,536                    2,037,707 i 17,03S,000                   91.7%
                                                                                  I                   I                 i               !                  I                I                                                                       '                                     !
FREIGHT EXPENSE                                                                   \                   i           I                                                                                                                                                                       I
     ]Other Shipping Vendors, net            I       FT       1         36,307 i           28,103 !        26,o1o i            19,399 I        16,410 i           26,946 I                          24,096 I           15,635             21,2s1 I         24,963             32,125 1          290,531 !         1.6%
                                             I                                                                                        '                    I                I                                                 I                     I
___j GROSS PROFIT                                                                                          6s,o8s i
                                           ··~                                                                                  7,192 I                                                                                8S,S8s I                                                                1,248,996 !--~
                                                              1        206,851 i         179,622 :                                             56,059!           97,989 i                          146,320 1                             103,131 1        194,279             (32,981)1
     I                                                        !                I                                                        I                  I                                                                                        I
GENERAL AND ADMIN.                                                                                                                                         !                I                                  I                   i
     Advertising                                                            610               705 I           191                                 100!                45 i          1,176 i           3,551 i              848]             1,350 !            57                     ol          8,883 1         0.0%
    !Auto Expense                                             '           3,S80             4,357           2,43S                               1,703 i            2,218 i          2,575            (2,161)!            2,785             2,009 !          2,071                 291 I          24,447 I         0.1%
____j~omputer Exp                                             i           3,321 I           2,196           3,045                               2,236 i            2,580 \          5,165             4,301 i            2,902             2,185 I          2,297               4,363 I,         36,969           0.2%
--------,Credit Services                                      i             500               5oo I           500                                 500 i              500 i            500              500 i               500               soo I            SOD '             2,476 i           7,976           0.0%
 ..     !Dues/Subscriptions                                   I             453 I             478             788                                 394 !              441              282             1,403              1,287               456            1,169 '               507 i           8,519           0.0%
        !Insurance Expense                                                3,598 i           4,579 i         2,44S!                              3,S98              3,598            3,598             3,598              3,247              3,597           3,598              i4,000)i          35,053           0.2%
        'Group Health Insurance                                           S,209!             (661)!         6,685                                4,442!            3,192           (1,372)            2,203              2,953 i            1,507           2,218               4,011 i          30,940 I         0.2%
_____j:nterest Expense                                        1           7,276 i           8,274 i         7,0691                               6,616 i           6,944            6,883             7,209              7,400 i            6,257           6,786               6,693'           85,311 I         0.5%
--------,Bad Debt Expense                                                 2,000!            2,000           1,879!                               2,000 I           2,000            2,000             2,000              2,000 j            2,000          28,000               2,000!           49,879 i         0.3%
        I legal and Audit                                     I           2,8oo             2,500 i         3,113 I                              3,683     1      47 550 I          6,780             2,824              2,000!            3,130 I          4,556               4,018!           84,6411          0.5%
        !Miscellaneous Expense                                1           2,761 i          (2,520li             0                                      oI             62 i          1,240              932                    D i_             0 (            256                  57\            2,788 i         0.0%
        !Office Supplies and Expense                                      7,434 I           7,941 !         4,339                                5,011             5,026 I          6,549             4,713 I            4,288                              4,609               S,7231           65,907 i         0.4%
        !Payroll Taxes                                                    6,001!            7,259           5,903                                5,960             3,471            7,105             6,016 i            5,640 i                            6,962               5,728!           72,461!          0.4%
        !Postage                                                             901              339                  86                              185 I              91              184                82 :            2,1761                                128                (18li           5,670           0.0%
                                                                                                                                                                                                        492 i
                                                              -f -- ·-7~:~·;~+                                                                                                                                          7i~6* "
 ___ li_r!l_e_loyee Ben~~-~                                                                     0              50_]                                619 1               0              943                                          1                             0'                   0'          4,508           0.0%
        Isalaries                                                                          88,889          73,9761                              74,164!           n~i-i6"          86,115            74,377 i                                              85,718'             n,8S3 i          92S:9ss           5.0%
          Travel & Entertainment                               I       2,923                  42S I         1,229 i                                760 I            3,350 I         1,678             1,270 i              483                              3,453               4,007!           25,480           0.1%
          Telephone                                           I           3,001 1           3,046 i         3.150 I                              3,124 i            3,001!          2,859             2,907              3,249                              3,697               2,426 I          36,611           0.2%
          Taxes-Franchise                                                      0 i                ol               oI                                  O!           1,223 I              0                 Ol                0                                    0                 0             1,223 i         0.0%
          Taxes-Real Estate                                   1           1,5oo             1,500!           1.soo I                             1,500 i            1,500 i         1,500             1,500              1,500                               1,500              1,500            18,000 !         0.1%
         ]Taxes-Business license                                            220               3SS i           246                                  421 I              220 i           220               220              2,7961                                220                m               6,659 !         0.0"..6
        !Taxes-Consumer Use Tax                               !               4                   81           42                                      81              19 i           227                  0                  30                                  8                   0             375 I         0.0"..6
      !                                                                                           I                     I                                  I                !
                                                                                                                                                                                                                                   I
TOTAL GEN. AND ADMIN EXP                                      I        129,795            132,170 i       118,671 I           129,105          117,0241          1S9191 !        136,207            117,937 I          118,018!          112,407          1S7,803             uz,9S71          1,541,28S I        8.3%
                                                              !                                   I                     I               I                  I                                                    I                  !                 I                                    I
NET OPER. INCOME (LOSS)                                       I          77,056 I          47,452 I        (52,586)i         {121,913)]        (60,96Sll         (61,202)!          2,657            28,383 !          (32,433}1           (9,276)!        36,476            {145,938)1         (292,289)         -1.6%
                                                                                                      !                                 I                                   I                                   I                  I               I
OTHER INCOME & EXPENSE                                                              !                                   !               I                  I                I                 I                 I                                   !
    lease Income                                                          2,8oo I           2,800          10,800 i             2,800 i          2,800 i           2,800            2,800!            2,800 I            2,800             2.800!           14,800              2,800 i           S3,600 I        0.3%
    Miscellaneous Income                     !                           (1,13S)i             (52)            276!              1,828!            (197)'         226,441 I          1,935 I          33,1461              (367)          275,0861             (100):          122,539!           659,400'         3.6%


1
    Interest Income
 _ _ Gain Of!.Sale of_~ssets

TOTAl OTHER INCOME AND EXPENSE
                                       -.. . +
                                             I                i
                                                              I
                                                                          1,125 i

                                                            - -:- '"-----· ""j
                                                               i      2,790 I
                                                                               0!
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                                                                                            3,855
                                                                                                  0
                                                                                                            1,090'



                                                                                                           12,166 I
                                                                                                                    ~t·· ·~
                                                                                                                                1,072 i
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                                                                                                                                                                                    1,037 i
                                                                                                                                                                                   (2,SOO[I
                                                                                                                                                                                          I
                                                                                                                                                                                    3,272 i
                                                                                                                                                                                                      1,988

                                                                                                                                                                                                           01·
                                                                                                                                                                                                     37,9341
                                                                                                                                                                                                                           9661
                                                                                                                                                                                                                              Ol
                                                                                                                                                                                                                               I
                                                                                                                                                                                                                         3,399 i
                                                                                                                                                                                                                                             965 !
                                                                                                                                                                                                                                            __§.?.91
                                                                                                                                                                                                                                         279,701 I
                                                                                                                                                                                                                                                               886


                                                                                                                                                                                                                                                            1S,S86
                                                                                                                                                                                                                                                                  o~    ..
                                                                                                                                                                                                                                                                                  929
                                                                                                                                                                                                                                                                                    0

                                                                                                                                                                                                                                                                              126,2681
                                                                                                                                                                                                                                                                                                  13,238 I
                                                                                                                                                                                                                                                                                                     350 !
                                                                                                                                                                                                                                                                                              ---·---~



                                                                                                                                                                                                                                                                                                 726,588 I
                                                                                                                                                                                                                                                                                                                  0.1%
                                                                                                                                                                                                                                                                                                                  0.0%



      I                                                                                                                                                    I                                                    I              I                                                          i                   !
Sample Companv- Sub #1                                            I      12,701             3,S47          (38,008)            s7,240 I         69,736!            28,105 i       (33,992)          114,676!            11,542 '           48,676 I         (9,97.:1)        (167.811)1           96,538 I        0.5%
Sample Companv- Sub #2                                            1      (4,824)              670           (3,456)]            (3,787)         (2,294)!            1,994 i        (9,317)           {4,364)!           (4,016)            {3,370)!         {5,089)             13.271)1         (41,124)         -Q.Z%
                                                                                                                        I                 I                                                                                                                                                                   !
NET INC. (LOSS) Subs #1 & 2                                               7,877             4,217          (41,464)1           53,453 i         67,442             30,099 I       (43,309)!         110,312 i            7,626 I           45,306 i        (15,063)          {171,082)!           ss,414 I        0.3%
      I                                                                                                                                                    I                                                                        !
      !NET INC. (LOSS) BEF. TAXES                                        87,723            55,524          {81,884)1          (62,760)1         10,134 I         201,157 ;        (37,380)!         176,629 I          (21,408)!         31S,731            36,999           (190,752)!          489,713 i
                                                                                                                        I               I                  i                                                                                        I                                     !
      '                                                                                                                                                                     !                                    I




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)SAMPLE
1FT                                                         •             I
                                                                          I                                              I                                                                                                          I
                                                             Mov-09    TuO                    i    ,,~                       5ep-09      Oct                         Dec               -10                              Aor-10          TOTALS
OL TBOIJf'JI)F~GT E)(l>        !   Exoense         PL-09   ~  28.14C 1                                                                   _, 11 I                 I     35 1o8        31,684      " 21C 1      39 324     41.500          394,929
NET TRUCi(jREVj/EXP                                PL-09      15,78611                    I           -1                        l,742i    (E,568)(    (10,138)        (4 .160       (: ',304)   121 ,3s: 1   138,s5s:     1.577         1180,5751
     I ; (REV) EXP                                 PL-09      (2,005)1                  831            ,0521             '     (1,068i       1604)'      (67C            (440 '         (485        ,3041!      (568       l.389"         113.1541
                                                                                                                                                                 1              i
  NEC                (IN(      I                                 10,349         19,449 i            32,044               '    14,58:      23,945      13,039 !         l6,2s:   I     3,895     10,519 i        (103"   61:688          201199
                                                                                                                         i
                                                                                                                         I
IFISCA~tll                                                    Ma,·1C          -,;;;;:w            """"iiMO         ·10       5e' 10      Oct-1C                      Oec-10         Jan-11
Ol TB~XP                                           PL-1C       3E,307                         i     26,010                      ;,410     26,946 !    19,28C I        24,096            ,635     2 ,2s·      24,963      32. 25          290,53
NE". TRUCK                     '   Re,eoue         Pl-10       1' 23             8.812 "I           15,340                    10,539      15,46;      (5,2211          8,364 '           726    (: ,833)      5,015      17.8171          54.383
         (REV) EXP             I   Reveoue         Pl-10    I     (6821           .. 25:      1       l64o:                    (7,0361     (2,867)     3, 12 I                           326'      (480li      (360        :.1901        112.9081
                                                                                              I                          !                                       I                                       i
  NET FREIGHT EXP.(INC)        .                            '    50.548        3sli64 I ··4o:710                         I    19,913       8,612      17,171 I        32,460 i      33.035        7.894 i    29.618
                                                                                              I                                                                  I
                                                                                              I
                  1 iodudes 3'            sin the Net Freight E'pense.
             I Freight         • These are e>pense related to 3rd                   '     i
                          'This is a pmfit           · B5F and has               1 ;-;-.;,;;;;;;;~

  Hauling                 This is a profit center for B5F and has·              'reported annual profits.
This report allocates these              s for proper locome                                                   I




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SAMPlE COMPANY                           !
                                                           I               I             I               I              I              '               i               i                I                I                I        I
COS-09                                        May-09       I   Jun-09      I   Jul-09        Aug-09      I Sep-09 I Oct-09 I Nov-09 I Dec-09                               Jan-10           Feb-10           Mar-lO       I Apr-10   TOTAlS
                                                           I               I                                            I                              I               I                                 !                I              I
Number of Weeks                                 4          I     5               4             4         I    5         I    4              4          I    5          I     4          I     4          I     5          !     4        !
FIXED COSTS                              I                                               I               I              I                                              I                                 I                ''             !
      Labor Costs-Supervisors                    24,128          30,160 i       24,128 !      24,128 i        30,160 I       24,128 i       24,128 I        30,160 I        24,ns I          24,128 i         30,160 i          24,128        313,664
      Payroll Taxes-Supervisors          I        1,846!          2,307 i        1,846 i       1,846 i         2,307 I        1,846:         1,8461          2,307 i         1,846 I          1,846            2,307 i           1,846         23,996
      Depreciation                       !        2,341 i         2,341          2,3411        2,341!          2,341 i        2,341!         2,341 i         2,341 i         2,341 I          2,341            2,341 i           1,718         27_469
      Insurance                          !       13,805 !        13,805          1,zzo 1      13,905!         13,805 !       13,805         B,sos I         14,055 i        13,805 !         10,805           13,805 i           7,747        150,367
      Utilities (90%)                            21,037 !        27,194         27,426 I      24,794 !        25,567 i      23,012          ts,szs I        11,362 I        19,108 !         19,161 I         19,193 !          19,286        256,669
      Hospital Insurance                          6,000 i         6,000          6,000         6,000           6,000 !       6,000           6,000           6,000           7,000            8,000!           8,ooo      1      8,000         79,000
      Interest                           !        3,600 I            3,ooo I     4,000          (170)'              O!       3,700           2,953           3,500           3,000            2,000 i          3,000!            1,937 I       30,520
      Truck Insurance                             2,16o 1            1,9881      2,080         1,944 1         1,9591        2,095;          2,101           2,100           2,104            2,195 i          2,228             2,215 I       25,169
                                         '
     Truck Depreciation                  !             0               (50)1           0              Ol            O!             0              0               0              0            3,390                892             892 i        5,124
     Truck Tags                                     (15)1              (33)j         4941          (38)!          {36)i          (22)'          (21)            269            570                   21            !27)            897 i        2,040
                                         !                                 I             I               I              i                              I               I                                 I
       TOTAL FIXED COSTS                 ;       74,902 I        86,712 I       7S,S3S I      74,750 !        82,103!       76,90S !        72,682 I        72,094!         73,902 I         73,868 I         81,899 I          68,666 !      914,018
                                         ''                                              i                              '              '               i               i                                 I
VARIABLE COSTS                           I                 !               I             !               i                                             I               !                                 !                I              I
     Labor Costs-Variable                i       84,502 !        94,926         90,374 1      88,093 !        88,721 i      93,441          87,742!        109,566 i        92,947!          76,889!         107,285 !         106,493       1,120,979
     Payroll Taxes-Variable              !       12,670 !        15,637         11,892        10,5s5 1        13,803 !       9,866          11,315          12,879:         19,394 i         16,875 i         21,941 I          17,112         173,939
     Oyster Shucking Labor               !       50,133 i        57,431         48,917        53,291 I        34,638 i      48,788          47,101 !        65,255 i        49,390           48,599 i         59,737 I          76,250         639,530
     Outside Storage                     !        7,652!         14,320          7,919         8,297          16,987    1    7,626;         11,482           8,58o I         9,307:          12,404            7,353 i          13,646         125,573
      Utilities (10%}                    i        2,337!          3,022          3,048         2,756 i         2,841         2,557 i         2,170           1,262           2,123 i          2,029 i          2,133              2,144 1       28,422
      Supplies                           I        8,595 i        14,412          9,774        10,059!         10,827        13,582           9,316          10,411          10,880 I          8,875 !         10,617!           13,295   1     130,643
      Inspection Services                         2,007 i         1,211!         1,979         3,235!          1,579         1,603           2,127           1,679           2,096 I          2,094!           1,678              1,678 i       22,966
      lab Supplies                                     oi             o!                o!            oi            0              0              0                0                0           565                   0               0 i         565
      Mise Production Costs                       3,550           4,350 i        1,695 i       4,278!          1,697          3,009          3,250           2,570           3,192 I          2,513 I           4,079             2,429 i       36,612
      Repairs                                     8,086          14,146 I       11,602!       14,060;         14,299         12,374          6,676           6,819 I         6,255            7,801             6,291 !         11,270 i       119,679
     Trk Driver Pyroll (Non-del.)                19,628          21,021 I       24,576 1      16,440          2o,661 I       16,293 '       12,9o2 I        19,582 I        16,471           12,090            15,787 1         19,498 !       214,955
     Truck -Gas & Oil (Non-DeL)          '        6,362           8,638 I        8,427         8,308 f         8,046 i        6,844!         6,923 i         7,158 I         7,747            8,541            12,423 !         11,518 i       100,935
     Truck -Repair (Non-Del.)            I          186                 151        166 i           527           267 i          598 :          839 i           4431                 0                0          3,937 i             323 i        7,301
     Truck Mise Exp. (Non-DeL)           !        1,649!             1,096 I     1,285 !           856         1,405 !        1,537          1,830 i           890 i          1,192             (128)               o!               12 i       11,624
                                                                 60,528 I
                                         '!
                                                           1
      Inventory Adjustments                       3,728 !                       (2,371)'1       7,162!           932!         1,880'        {3,689)!            (72611        9,7061           1,610            1,650 I          (8,453)i       71,957
     Special Pickup Revenue                     (21,610)!        (23,87711     (32,713)i      {18,585)[      (25,934)!      (23,716}       (27,388)]       (18,188)j        (22,665)         (21,248)         (33,801)!        (33,951)1      (303,676)
·-·-----·~~--~~--   ..·--                '                                 I             i               !              i                              ' 228,180 I 208,035 I 179,5o9 I 221,110 233,264 i'' 2,502,004
    TOTAL VARIABLE COSTS                 i      189,47S !       286,882 I      186,570 I     209,332 i       190,769 !      196,282 :      172,596 i                                                                      i
                                         !              !                  I                                                                           :                                      i        !
 TOTAL PRODUCTION COSTS                          264,377 i        373,594 ! 262,105 I 284,082 I 272,872!                    273,187      245,278 i 300,274      281,937 I 253,377!      303,009 ! 301,930 i 3,416,022
                                          i                I                                                                                                            !          i            i         i
PRODUCT COST OF SALES                     I                I               '                  I                         I                        I          I           !          !            I         i
    GROSS COST OF SALES                   I 1,565,699 . 2,os6,761! 1,783,380 1 1.457,337 I 1,366,410 I 1,345.429 1,344,903 I 1,486,812 ' 1,321,240 I 1,521,129 i 1,971,592 i 1,651,219 i 18,871,911
-·--~~:_!OTA~-~~2,~l!Q!2__ti_C05TS     ---i----~-:._~:?_~-\- ._ __i?_?,s94 i______1§_?!_!~.~J.- __.?84,o82 i____;_~~E_j____~}.!_~?J,-.-- 24S,2781_3QQ_J_~~-L_._?~.937~_l-:-~~:-~I?-+_...?.Q?.~~~4 3o1,93o   3,416,022                    1




                                                                           I                  I            !            !                        I          !                                   '         !
         PRODUCT COST OF SALES            I 1,301,322 ! 1,683,167 I 1,521,275 I 1,173,255 i 1,093,538 ! 1,072,242 1,099,625 ! 1,186,538 ! 1,039,303 I 1,267,752 I 1,668,583 i 1,349,289 i 15,455,889
                                                           !               I                  i            '                                     I          !           I          I            !         I




                                                                                                                                                                                            Produced Pursuant to Rule 408 9/28/2011
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SAMPlE COMPANY                              i                   i                     t                i                              i                .
                                                                                                                                                                         I        I                                              i               I
                                                                '                                                                     l                I Nov-10 ! Dec-lO I Jan-11 I                                 I Mar-11 I
COS-10                                      I       May+lO      I       Jun-10            Jul-10      I Aug-10            Sep-10          Oct-10                                                        Feb-11                       Apr-11          TOTALS
                                            I                   i                                                                     I                                i             I              I                            I
Number of Weeks                             I         4         I         5                 4          I    4               4         I     4                5         I    4        I    4         I     4             5        i     4
FIXED COSTS                                 !                   I                                                                                                      i                            I                            I
      Labor Costs-Supervisors               I
                                                      24,128 I            30,160           24,128          24,128          24,128 I        24,128           30,160         24,128        24,128          24,128        30,160 I       24,128 I         307,632
      Payroll Taxes-Superv·lsors                       1,846 i                z,3o7   1     1,846           1,846           1,846 I         1,846 ',         2,307          1,846 1       1,846 I         1,846         2,307]         1,8461_          23,535
      Depreciation                                        z,szs I             2,341 I       2,341           2,826           2,826           2,826            2,826          2,826         2,826           2,826         2,8261         3,814 i          33,930
      Insurance                             !         14,447              13,805 i         13,903 I        14,547          14,447          14,447           14,447         14,447 i      14,447          14,447        19,447         (3,676}1         159,155
      Utilities {90%)                                 19,231              21,470 i         21,224 !        19,509          20,9941         18,716 ;         16,190          7,138 i      18,898          16,913        17,9961        17,551           215,830
      Hospital Insurance                                  8,000            8,000!           6,000            7,5oo I        7,5oo 1         8,000:            9,000         8,200 i       s,2oo I         8,000         8,000 l        7,ooo I          93,400
      Interest                                            2,87o I          2,000 i              209             291                O!           12                 0'         107 i            oi             43           48 i           18             5,336
      Truck Insurance                                     1,917 I          2,232 i          2,224            1,9511         1,955 i         1,947 '           1,970 i       1,955          1,957!          1,937 i      1,939!         (1,066)          20,918
      Truck Depreciation                                      O!               892              892               oi               oi              o'              0             0              0               0             o!             0           1,784
      Truck Tags                            !               (311'              (251!            150             278             (1711       1,631 __ :           (111]       1,560            493 i           240           (431'          121           4,346
                                            I                                                          I                              !                                I                                                         I
       TOTAl FIXED COSTS                     I        75,234 i            83,182 I         72,917 i        72,614!         73,679 I        73,553 :         76,889 !       62,2o7 I      72,795 I        70,380 '      82,680         49,736 !         865,866
                                             I                                        I                '                              I            .. L                I             '
VARIABLE COSTS                               i                                                         i                                               I               I                                                                         !
     Labor Costs-Variable                    I        88,112              87,521 i         75,003 I        71,589          67 ,o1o I       70,007            71,066 :      81,375 \      69,654          68,093        85,265         85,602 \         920,297
      Payroll Taxes-Variable                 I        14,154              12,9771           8,516             8,170         6,272!          9,898:            9,460 i       7,124 i      13,249          13,618        18.552 1       15,399 !         137,389
     Oyster Shucking labor                            41,353              42,631 !         29,645           16,795         20,494!         32,976 :          35,415 i      34,995 i      31,239          37,883        44,913 i       52,788 i         421,127
     Outside Storage                                   9,256               5,576            7,629             3,600         3,393 i         3,136             3,135 !       3,177 i       4,649           3,562         9,444 I        6,866!           63,423
      Utilities (10%)                                  2,137               2,386 i          2,358             2,168         2,332 I         2,080             1,799 i         793 i       2,099           1,879'        2,000 i        1,950 i          23,981
     Supplies                                I         8,324               9,278 1         12,449             6,992        10,280 i        10,923             7,906 i      1o,1o5 1      10,885           6,496        11,747 !        9,835 i         115,220
      Inspection Services                              1,678               1,774 i          1,774             1,774         2,245 I           942'                0              Ol             0             0             0 i                  I      10,187
      Lab Supplies                                         0                      0             ol              201!             0                 0              0              Ol             0             0             0 ,                  i         201
      Mise Production Costs                            3,556 i              2,104 i         3,541]            3,086 i       3,669           2,374             3,734          2,843 I        3,210         2,376          1,799          2,821 !          35,113
      Repairs                                '         6,853 i              7,162 I         8,4021            6,354!        8,548           6,986            11,356          5,096          3,692 i       7,261         21,601         15,561 I         108,872
     Trk Driver Pyrol! (Non-de!.)            '
                                                      13,993 i             16,075 !        15,137 I         12,975 I       11,830          13,074            15,872         12,025        15,145         14,114         19,968         19,542 i         179,750
     Truck -Gas & Oil (Non-De!.)             i         9,775 I             10,154 !         6,433 I           5,491 I       6,856          10,164_[          11.o1o 1       13,017   1    13,500 '       15,373         21,535         20,373 i         143,681
     Truck -Repair (Non-De!.)                I              3791              445 i             441:            313 I           537             985                0           743 I            0         1,217             43 i          187 I           5,290
     Truck Mise Exp. (Non-De!.)              i                0                (92)[            (201          1,238          1,197          2,865             4,012          2,858!         2,699         1,622         (3,839)1        1,038 i          13,578
      Inventory Adjustments                   !            114611             914 I         3,706 I          (2,742J'i       1,418        105,100 i         (87,889)1       (1,21311       (1,991)            259         {315)!        5,617 i          22,718
     Special Pickup Revenue                   I       (20,364)            (28,2381!       (15,329)1        (13,044)        (14,389)!      (24,200j:         (21,992)1      (25,271)1     (22,084)        (24,259)      (47,505)!      (35,827)!        (292,502)
                                                                 I                                     I
------- ---------·--·· ····-··         ... .. i                  '                    I                               I                                                              I                                                           '
    TOTAl VARIABlE COSTS                      i       179,o6o I          170,667 I        159,685 I        124,960 [      131,692 i       247,310            64,884!       147,667       145,946 I       149,494       185,208       201,752 I        1,908,325
                                             !                   I                    !
                                                                                                                   I                                          I
 TOTAl PRODUCTION COSTS                              254,294 i            253,849!    232,602 I 197,574 ! 205,3711     320 863   141,773 ! 2o9,874 I 218,741 ! 219,874     267,888!    251.488 I 2,774,191
                                                                                              I           '        !           .
                                                                                                                                         I           I        i
                                                                                                                                                                        .          i           I
                                                                                                          '
PRODUCT COST OF SAlES                           '                   I                         '           I         I                    I           !
    GROSS COST OF SALES                             2,399,187 I         1,843,795 I 1,4o1,13o I 1,125,841   940,950! 1,299,713 1,043,238 ! 1,060,346 I 992,172 1,212,385 1,678,536 1 2,037,707 I 17,035,000
    LESS: TOTAl PRODUGION COSTS
--------         ""-·~~----·------     .. -·- -···-~54,29~r----~?.?.._?_~-!--232,6o~---~z~?I~J-~ ..?.9.~~?71
                                                                                              !              !
                                                                                                                                      !- 32o.~~~)-1-~1. n~___2q_~!__82~-l _J~8,7~9,874 . ___?§.~~888 _ _2~}~~~?~1 ......~~?.74,1~~-
                                                                                                                                                        I                            i

          PRODUCT COST OF SAlES                2,144,893 I    1,589,946 ! 1,168,S28 I 928,267!     735,579 i                              978,850           901,465 i      8so,4n I      773,4311        992,511 i 1,410,648 I 1,786,219 i           14,260,809
                                             I                      I                 I                I                              !                                I             I              !                            I




                                                                                                                                                                                                        Produced Pursuant to Rule 408 9/28/2011
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                       Exhibit B
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        Data Entry: Adjustments (ALT)
        May - Dec 2007, 2008, 2009 & 2010

                       Adjustments                       May-10      Jun-10          Jul-10       Aug-10           Sep-10           Oct-10       Nov-10           Dec-10       Per-13       Total

    Cost of Goods Sold:
        Depreciation-Equip                                   2,826       3,233          3,233          2,826          2,826            2,826          2,826          2,826              $     23,422
        Amortization                                                                                                                                                                               -
      * Adjust from standard to actual cost                  3,021       2,974       (287,384)        80,788       (37,770)         (147,264)        63,815       (99,399)                  (421,219)

        Total COGS Adjustments                           $ 5,847     $ 6,207     $ (284,151) $ 83,614          $ (34,944) $ (144,438) $ 66,641                $ (96,573)                $ (397,797)

    SG&A Expenses:
       Depreciation                                                                                                                                                                     $           -
       Amortization                                                                                                                                                                                 -

        Total SG&A Adjustments                           $       -   $       -   $            -   $        -   $            -   $            -   $        -   $            -            $           -


    *   Some claimants (e.g. Seafood Processors) may
        report monthly processing costs using standard
        cost accounting systems. In these instances,
        COGS must be adjusted to reflect the ACTUAL
        monthly costs.




PRODUCED PURSUANT TO RULE 408, 10/17/2011                                                                                                                                                   Page 1 of 1
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        Data Entry: Adjustments (ALT)
        May - Dec 2007, 2008, 2009 & 2010

                       Adjustments                       May-10      Jun-10          Jul-10       Aug-10           Sep-10           Oct-10       Nov-10           Dec-10       Per-13       Total

    Cost of Goods Sold:
        Depreciation-Plant                                   8,733       8,733          8,733         8,407          8,407             8,407         8,491          8,491       8,609 $      77,011
        Depreciation-Engineering                             4,117       4,117          4,117         4,117          4,117             4,117         4,117          4,117       4,213 $      37,149
        Depreciation-Q&A                                                                                                                                                                $         -
        Amortization                                                                                                                                                                              -
      * Adjust from standard to actual cost                                                                                                                                                       -

        Total COGS Adjustments                           $ 12,850    $ 12,850    $     12,850     $ 12,524     $    12,524      $     12,524     $ 12,608     $    12,608               $   114,160

    SG&A Expenses:
       Depreciation                                                                                                                                                                     $           -
       Amortization                                                                                                                                                                                 -

        Total SG&A Adjustments                           $       -   $       -   $            -   $        -   $            -   $            -   $        -   $            -            $           -


    *   Some claimants (e.g. Seafood Processors) may
        report monthly processing costs using standard
        cost accounting systems. In these instances,
        COGS must be adjusted to reflect the ACTUAL
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        Data Entry: Adjustments (ALT)
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                       Adjustments                       May-10   Jun-10       Jul-10       Aug-10           Sep-10           Oct-10       Nov-10           Dec-10       Per-13       Total

    Cost of Goods Sold:
        Depreciation-Equip                                                                                                                                                        $           -
        Amortization                                                                                                                                                                          -
      * Adjust from standard to actual cost                                                                                                                                                   -

        Total COGS Adjustments                           $    -   $    -   $            -   $        -   $            -   $            -   $        -   $            -            $           -

    SG&A Expenses:
       Depreciation                                                                                                                                     $       120               $       120
       Amortization                                                                                                                                                                         -

        Total SG&A Adjustments                           $    -   $    -   $            -   $        -   $            -   $            -   $        -   $       120               $       120


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        report monthly processing costs using standard
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        monthly costs.




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        Data Entry: Adjustments (ALT)
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                       Adjustments                       May-10   Jun-10       Jul-10       Aug-10           Sep-10           Oct-10       Nov-10           Dec-10       Per-13       Total

    Cost of Goods Sold:
        Depreciation-Equip                                                                                                                                                        $           -
        Amortization                                                                                                                                                                          -
      * Adjust from standard to actual cost                                                                                                                                                   -

        Total COGS Adjustments                           $    -   $    -   $            -   $        -   $            -   $            -   $        -   $            -            $           -

    SG&A Expenses:
       Depreciation                                                                                                                                     $     1,855               $     1,855
       Amortization                                                                                                                                                                         -

        Total SG&A Adjustments                           $    -   $    -   $            -   $        -   $            -   $            -   $        -   $     1,855               $     1,855


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        Data Entry: Adjustments (ALT)
        May - Dec 2007, 2008, 2009 & 2010

                       Adjustments                           May-09           Jun-09           Jul-09       Aug-09       Sep-09           Oct-09       Nov-09       Dec-09       Per-13       Total

    Cost of Goods Sold:
        Depreciation-Equip                                                                                                                                                                $           -
        Amortization                                                                                                                                                                                  -
      * Adjust from standard to actual cost                                                                                                                                                           -

        Total COGS Adjustments                           $            -   $            -   $            -   $    -   $            -   $            -   $        -   $        -            $           -

    SG&A Expenses:
       Depreciation                                                                                                                                                 $   2,927             $    2,927
       Amortization                                                                                                                                                                                -

        Total SG&A Adjustments                           $            -   $            -   $            -   $    -   $            -   $            -   $        -   $   2,927             $    2,927


    *   Some claimants (e.g. Seafood Processors) may
        report monthly processing costs using standard
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        monthly costs.




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        Data Entry: Adjustments (ALT)
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                       Adjustments                       May-10   Jun-10       Jul-10       Aug-10           Sep-10           Oct-10       Nov-10           Dec-10       Per-13       Total

    Cost of Goods Sold:
        Depreciation-Equip                                                                                                                                                        $           -
        Amortization                                                                                                                                                                          -
      * Adjust from standard to actual cost                                                                                                                                                   -

        Total COGS Adjustments                           $    -   $    -   $            -   $        -   $            -   $            -   $        -   $            -            $           -

    SG&A Expenses:
       Depreciation                                                                                                                                     $     4,800               $     4,800
       Amortization                                                                                                                                                                         -

        Total SG&A Adjustments                           $    -   $    -   $            -   $        -   $            -   $            -   $        -   $     4,800               $     4,800


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        monthly costs.




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        Data Entry: Adjustments (ALT)
        May - Dec 2007, 2008, 2009 & 2010

                       Adjustments                           May-09           Jun-09           Jul-09       Aug-09       Sep-09           Oct-09       Nov-09        Dec-09       Per-13       Total

    Cost of Goods Sold:
        Depreciation-Equip                                                                                                                                              51,368             $ 51,368
        Amortization                                                                                                                                                                              -
      * Adjust from standard to actual cost                                                                                                                                                       -

        Total COGS Adjustments                           $            -   $            -   $            -   $    -   $            -   $            -   $        -   $ 51,368               $ 51,368

    SG&A Expenses:
       Depreciation                                                                                                                                                                        $           -
       Amortization                                                                                                                                                                                    -

        Total SG&A Adjustments                           $            -   $            -   $            -   $    -   $            -   $            -   $        -   $         -            $           -


    *   Some claimants (e.g. Seafood Processors) may
        report monthly processing costs using standard
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        monthly costs.




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        Data Entry: Adjustments (ALT)
        May - Dec 2007, 2008, 2009 & 2010

                       Adjustments                           May-08       Jun-08           Jul-08       Aug-08       Sep-08           Oct-08           Nov-08           Dec-08       Per-13       Total

    Cost of Goods Sold:
        Depreciation-Equip                                                                                                                                                                    $           -
        Amortization                                                                                                                                                                                      -
      * Adjust from standard to actual cost                                                                                                                                                               -

        Total COGS Adjustments                           $            -   $        -   $            -   $    -   $            -   $            -   $            -   $            -            $           -

    SG&A Expenses:
       Depreciation                                                                                                                                                 $     99,756              $    99,756
       Amortization                                                                                                                                                                                     -

        Total SG&A Adjustments                           $            -   $        -   $            -   $    -   $            -   $            -   $            -   $     99,756              $    99,756


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        monthly costs.




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        Data Entry: Adjustments (ALT)
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                       Adjustments                           May-09           Jun-09           Jul-09       Aug-09       Sep-09           Oct-09       Nov-09       Dec-09       Per-13       Total

    Cost of Goods Sold:
        Depreciation                                                                                                                                                                      $           -
        Amortization                                                                                                                                                                                  -
      * Adjust from standard to actual cost                                                                                                                                                           -

        Total COGS Adjustments                           $            -   $            -   $            -   $    -   $            -   $            -   $        -   $        -            $           -

    SG&A Expenses:
       Depreciation                                                                                                                                                 $   1,344             $    1,344
       Amortization                                                                                                                                                                                -

        Total SG&A Adjustments                           $            -   $            -   $            -   $    -   $            -   $            -   $        -   $   1,344             $    1,344


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        monthly costs.




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        Data Entry: Adjustments (ALT)
        May - Dec 2007, 2008, 2009 & 2010

                       Adjustments                       May-10   Jun-10       Jul-10       Aug-10           Sep-10           Oct-10       Nov-10           Dec-10       Per-13       Total

    Cost of Goods Sold:
        Depreciation                                                                                                                                                              $           -
        Amortization                                                                                                                                                                          -
      * Adjust from standard to actual cost                                                                                                                                                   -

        Total COGS Adjustments                           $    -   $    -   $            -   $        -   $            -   $            -   $        -   $            -            $           -

    SG&A Expenses:
       Depreciation                                                                                                                                     $    12,933               $    12,933
       Amortization                                                                                                                                                                         -

        Total SG&A Adjustments                           $    -   $    -   $            -   $        -   $            -   $            -   $        -   $    12,933               $    12,933


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        Data Entry: Adjustments (ALT)
        May - Dec 2007, 2008, 2009 & 2010

                       Adjustments                       May-10   Jun-10       Jul-10       Aug-10           Sep-10           Oct-10       Nov-10           Dec-10       Per-13       Total

    Cost of Goods Sold:
        Depreciation-Equip                                                                                                                                                        $           -
        Amortization                                                                                                                                                                          -
      * Adjust from standard to actual cost                                                                                                                                                   -

        Total COGS Adjustments                           $    -   $    -   $            -   $        -   $            -   $            -   $        -   $            -            $           -

    SG&A Expenses:
       Depreciation                                                                         $ 11,636                                                                              $    11,636
       Amortization                                                                                                                                                                         -

        Total SG&A Adjustments                           $    -   $    -   $            -   $ 11,636     $            -   $            -   $        -   $            -            $    11,636


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